
706 S.E.2d 777 (2011)
STATE of North Carolina
v.
Gregory Lynn GORDON.
No. 132P11.
Supreme Court of North Carolina.
April 6, 2011.
Gregory Lynn Gordon, for Gordon, Gregory Lynn.
Robert C. Montgomery, Special Deputy Attorney General, for State of North Carolina.
John Snyder, District Attorney, for State.


*778 ORDER

Upon consideration of the application filed by Defendant on the 31st of March 2011 in this matter for Writ of Habeas Corpus, the following order was entered and is hereby certified to the Superior Court, Union County:
"Denied by order of the Court in conference, this the 6th of April 2011."
